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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

BARBARA J. LEE et al.,
                    Plaintiffs,
                                             Case No. 21-cv-00400 (APM)
             v.
                                             (lead case)
DONALD J. TRUMP et al.,
                    Defendants.

ERIC SWALWELL,
                    Plaintiff,
                                             Case No. 21-cv-00586 (APM)
             v.
                                             (consolidated case)
DONALD J. TRUMP et al.,
                    Defendants.

JAMES BLASSINGAME et. al.,
                    Plaintiffs,
                                             Case No. 21-cv-00858 (APM)
             v.
                                             (consolidated case)
DONALD J. TRUMP,
                    Defendant.

CONRAD SMITH et al.,
                    Plaintiffs,
                                             Case No. 21-cv-02265 (APM)
             v.
                                             (consolidated case)
DONALD J. TRUMP et al.,
                    Defendants.

MARCUS J. MOORE et al.,
                    Plaintiffs,
                                             Case No. 22-cv-00010 (APM)
             v.
                                             (consolidated case)
DONALD J. TRUMP,
                    Defendant.




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 BOBBY TABRON et al.,
                        Plaintiff,
                                                      Case No. 22-cv-00011 (APM)
                v.
                                                      (consolidated case)
 DONALD J. TRUMP,
                        Defendants.

 BRIANA KIRKLAND,
                        Plaintiff,
                                                      Case No. 22-cv-00034 (APM)
                v.
                                                      (consolidated case)
 DONALD J. TRUMP,
                        Defendant.

 SANDRA GARZA,
                        Plaintiff,
                                                      Case No. 23-cv-00038 (APM)
                v.
                                                      (consolidated case)
 DONALD J. TRUMP et al.,
                        Defendants.


                     [PROPOSED] STIPULATED PROTECTIVE ORDER

       Pursuant to Federal Rule of Civil Procedure 26(c)(1), and for good cause shown, the Court

hereby enters the following Stipulated Protective Order:

       WHEREAS, during the course of each of the above-captioned actions, including any re-

lated discovery, pre-trial, trial, post-trial or appellate proceedings (each an “Action,” and collec-

tively, the “Actions”), the parties to the Actions (the “Parties”) and third parties may be required

to disclose confidential and sensitive information within the meaning of Rule 26(c) of the Federal

Rules of Civil Procedure;

       WHEREAS, on June 1, 2023, the Court issued a Stipulated Protective Order in the Action

Smith v. Trump, No. 21-cv-02265 (APM), Dkt. 223 (the “Smith Protective Order”);




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       WHEREAS, on February 16, 2024, the Court issued an Order consolidating all of the Ac-

tions for purposes of immunity-related discovery concerning Defendant Donald J. Trump (“former

President Trump”), resolution of the immunity issue on summary judgment, and merits discovery,

if necessary, and ordering all future filings in the Actions to be made in the first-filed Action, Lee

v. Trump, No. 21-cv-00400 (APM) (D.D.C.), unless otherwise ordered;

       WHEREAS, the Court has directed the Parties to “submit a proposed protective order that,

at a minimum, ensures that any discovery responses from Defendant Trump shall remain under

seal until further order of the Court,” Dkt. 106, at 9;

       WHEREAS, a protective order pursuant to Rule 26(c) is necessary in these Actions to pre-

vent unnecessary disclosure or dissemination of such confidential and sensitive information, facil-

itate discovery, and ensure efficient and prompt resolution of these Actions;

       WHEREAS, neither his execution of this Stipulated Protective Order, his stipulation to the

provisions set forth below, nor his participation in immunity inquiry discovery are intended as a

waiver of former President Trump’s Fifth Amendment rights against self-incrimination;

       WHEREAS, former President Trump is not waiving his Fifth Amendment Right to not be

compelled, when complying with the limited immunity discovery permitted by the Court, to pro-

vide answers that might tend to incriminate or be used against him in his criminal proceedings or

any other future criminal proceeding;

       WHEREAS, former President Trump has executed this Stipulated Protective Order and

stipulated to the provisions set forth below in reliance on the Court’s commitments to “impose

safeguards to ensure that the immunity discovery in this case does not exceed what is ordinarily

discoverable in a criminal case” and “to protect Defendant’s Fifth Amendment privilege,” includ-

ing by “limiting the form and sequence of discovery, sealing discovery responses, and conducting



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in camera review of privilege disputes,” Dkt. 106 at 5, as well as on the protections set forth in

Fed. R. Civ. P. 36(b);

       THEREFORE, IT IS HEREBY ORDERED that the following provisions of this Stipulated

Protective Order shall supersede the Smith Protective Order and control the disclosure, dissemi-

nation, and use of material produced in discovery in these Actions, including but not limited to

any immunity discovery from former President Trump:

       1. This Stipulated Protective Order is being entered to facilitate the production, exchange
          and discovery of documents, electronically stored information, testimony, and tangible
          things in these Actions (collectively, “Discovery Material”) that merit protection from
          unauthorized disclosure (“Designated Material”).

           a. Confidential Material. As used herein, “Confidential Material” means any Dis-
              covery Material that has been specifically marked or designated as “Confidential”
              by any Party or non-party (the “Designating Party”) and that includes any Discov-
              ery Material that a Designating Party reasonably and in good faith believes consti-
              tutes or discloses information that is not available to the public and that constitutes
              or discloses: (1) private health or medical records of any person; (2) personally
              identifying information of any person, including identification numbers, addresses,
              and telephone numbers for any person, and the name of any minor child; (3) confi-
              dential personal correspondence, notes, or communications; (4) confidential poli-
              cies, protocols, sources, or methods of the United States Capitol Police, Washing-
              ton, D.C. Metropolitan Police Department, or other law-enforcement agency;
              (5) personnel or employment records of any person; (6) confidential financial rec-
              ords; (7) competitively or commercially sensitive information; (8) confidential and
              sensitive political records relating to the performance of duties in the executive
              branch of the United States government; (9) confidential and sensitive records re-
              lating to Defendant Trump’s 2020 or 2024 presidential election campaigns; (10)
              any immunity-related discovery responses from former President Trump, except as
              to materials generated by persons other than former President Trump or his counsel,
              and (11) information with respect to which former President Trump asserts a Fifth
              Amendment privilege against compelled self-incrimination, including any infor-
              mation relevant to any current or potential future federal, state, or local prosecution
              of former President Trump.

           b. Attorneys’ Eyes Only Material. As used herein, “AEO Material” means any Dis-
              covery Material that that has been specifically marked or designated as “Attorneys’
              Eyes Only” by any Designating Party and that includes Discovery Material that the
              Designating Party reasonably and in good faith believes constitutes or discloses
              information that is of such a sensitive nature that its dissemination cannot ade-
              quately be protected by the Confidential Material designation.


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       i. Unless and until otherwise ordered by the Court, all Discovery Material in cat-
          egories 10 and 11 of paragraph 1(a), above (“Trump AEO Material”), including
          but not limited to former President Trump’s responses to interrogatories and
          requests for admission in connection with the immunity inquiry, shall be treated
          as AEO Material, whether or not specifically designated as such; provided,
          however, that such material that is otherwise available in the public domain
          shall not be treated as AEO Material.

    c. For the avoidance of doubt, information available in the public domain shall not
       constitute Designated Material. The following Discovery Materials shall not be
       designated as Designated Material unless the custodian of such Discovery Material
       (i.e., the United States Capitol Police, Washington, D.C. Metropolitan Police De-
       partment, Office of the Architect of the Capitol, Speaker of the House, etc.) indi-
       cates that they should be so designated: (1) video surveillance recordings and audio
       surveillance recordings of, and from, the United States Capitol buildings and
       grounds that were recorded on January 6, 2021; (2) United States Capitol Police
       and Washington D.C. Metropolitan Police Department Computer Aided Dispatch
       System documents and recordings from January 6, 2021; (3) law enforcement of-
       ficer body-worn camera recordings that were recorded by officers on duty at the
       United States Capitol buildings and grounds on January 6, 2021; and (4) law en-
       forcement motor vehicle dashboard camera, MVR video recording device, or sim-
       ilar recording device recordings that were recorded at the United States Capitol
       buildings and grounds on January 6, 2021.

    d. All complete or partial copies of Designated Material, written summaries of Des-
       ignated Material, and information derived from Designated Material constitute
       Designated Material subject to the terms of this Stipulated Protective Order accord-
       ing to the applicable designation, whether Confidential Material or AEO Material.

 2. Manner of Designation.

    a. Discovery Material may be designated as Designated Material under this Stipulated
       Protective Order by the person or entity producing it (the “Producing Party”), or by
       any other Party to these Actions, either by placing or affixing the phrase “CONFI-
       DENTIAL” or “ATTORNEYS’ EYES ONLY” on each designated page of the so-
       designated Discovery Material in a manner that will not interfere with its legibility
       or readability, or by making a statement on the record of a deposition, or by follow-
       ing the procedures set forth in Paragraph 4 following a deposition, or by other
       means agreed to by the Parties.

    b. If a Producing Party produced any Discovery Material prior to the effective date of
       this Order, then the Producing Party may designate, within 14 days from the date
       of this Order, any such Discovery Material as Designated Material. The provisions
       of Paragraph 7 (Challenges to Confidentiality Designations) still apply to the des-
       ignation of prior produced documents as Designated Material. The Parties agree
       that, pending the resolution of any such disputed matter, under Paragraph 7, they


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       will treat the information or document as Designated Material under the terms of
       this Order.

    c. To the extent consistent with applicable law, the inadvertent or unintentional dis-
       closure of Discovery Material that a Producing Party believes in good faith should
       have been designated as Designated Material, regardless of whether the Discovery
       Material was so designated at the time of disclosure, will not be deemed a waiver
       in whole or in part of the Producing Party’s claim of confidentiality or of former
       President Trump’s Fifth Amendment rights against self-incrimination, either as to
       the specific Discovery Material disclosed or as to any other Discovery Material
       concerning the same or related subject matter. Such inadvertent or unintentional
       disclosure may be rectified by notifying, in writing, counsel for all Parties to whom
       the Discovery Material was disclosed that the Discovery Material should have been
       designated as Designated Material within a reasonable time after disclosure. Such
       notice will constitute a designation of the relevant Discovery Material as Desig-
       nated Material under this Stipulated Protective Order.

 3. Protection of Designated Material.

    Designated Material may be used by a Party other than the Designating Party only for
    the prosecution and/or defense of claims asserted in these Actions. Additionally, given
    the need for close coordination between his counsel, former President Trump may dis-
    close Designated Material, including AEO material, to his criminal counsel in United
    States v. Trump, 1:23-cr-00257 (D.D.C.) (the “D.C. Criminal Action”) for use in pre-
    paring for that case. Designated Material may not be used by a Party other than the
    Designating Party for any other purpose, including but not limited to any use by a Party
    other than the Designating Party in any other country, state, federal, local and/or mu-
    nicipal, administrative or legal proceeding, lawsuit, enforcement action, arbitration,
    mediation, or other proceedings, regardless of the nature of the relationship between
    such proceeding and the claims asserted to these Actions. Designated Material must not
    be made public by a Party other than the Designating Party at any time, except as per-
    mitted under this Stipulated Protective Order. Notwithstanding the foregoing, a Party
    other than the Designating Party may disclose Designated Material as permitted under
    this Stipulated Protective Order. Nothing in this Stipulated Protective Order shall re-
    strict a Designating Party from using its own Designated Material in any manner and
    for any purpose. In the event a Designating Party makes public its own Designated
    Material, other parties to this agreement may make public other Designated Material
    that is necessary to place the publicized Designated Material in context.

    a. A Party other than the Designating Party may disclose Designated Material for only
       the purposes permitted by this Order and to only the following persons:

       i.    The Parties to these Actions, provided that AEO Material may not be dis-
             closed to the Parties, and further provided that counsel expressly advises each
             Party represented by such counsel of the need to maintain the confidentiality
             of Confidential Material pursuant to the terms of this Stipulated Protective
             Order;

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      ii.    Any Persons who appear on the face of the Designated Material as an author,
             addressee, or recipient thereof;

      iii.   Any Persons in whose files the Designated Material was found or any custo-
             dian who otherwise possessed the Designated Material;

      iv.    Counsel representing any Party in connection with these Actions, and their
             associates, legal assistants, and other support employees who are assisting in
             these Actions;

      v.     Counsel representing any party in connection with any civil action designated
             by the Court as related to these Actions, as well as counsel representing De-
             fendant Trump in the criminal action United States v. Trump, 1:23-cr-00257
             (TSC) (D.D.C.), and their associates, legal assistants, and other support em-
             ployees who are assisting in such Action, subject to the terms of Paragraph
             3(b) below;

      vi.    Any expert, consultant, mediator, arbitrator, mock juror, or other professional
             consulted or retained for the purposes of these Actions, as well as such pro-
             fessional’s support staff, subject to the terms of Paragraph 3(b) below;

      vii. Personnel of third-party vendors engaged by any of the Parties to assist in (a)
           the coding, imaging, or other management of documents for purposes of this
           litigation; or (b) the preparation of demonstrative exhibits or other visual aids
           for presentation at a hearing or trial, in either case (a) or (b) subject to the
           terms of Paragraph 3(b) below;

      viii. The Court and authorized Court personnel, including court reporters and vid-
            eographers at any deposition taken in this case, provided that a Party wishing
            to use Designated Material in open court must give prior notice of such
            Party’s intent to do so to the Designating Party, and provide reasonable op-
            portunity for the opposing party to object and seek an appropriate remedy,
            including an order of this Court; and

      ix. Jurors and witnesses at any hearing, deposition, or trial of this case, provided
          that (1) such recipients do no retain copies of Designated Material, and (2) a
          Party wishing to show Designated Material to jurors or a witness in open court
          must give prior notice of such Party’s intent to do so to the Designating Party,
          and provide reasonable opportunity for the opposing party to object and seek
          an appropriate remedy, including an order of this Court; and

      x.     Any other person who is permitted to receive such Designated Material pur-
             suant to an order of this Court or the prior written consent of the Designating
             Party.

   b. Before any Designated Material may be disclosed to any person described in Para-
      graph 3(a)(v), 3(a)(vi), or 3(a)(vii), each such person must attest under oath, in a
      written document in the form attached hereto as “Exhibit A,” that he or she is fully

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        familiar and agrees to comply with the terms of this Stipulated Protective Order and
        further agrees to submit to the jurisdiction of this Court with respect to any disputes
        arising under this Stipulated Protective Order. Counsel must maintain a copy of
        each signed “Exhibit A” until the final termination of these Actions, as set forth in
        Paragraph 10 below.

 4. Depositions. Unless all Parties agree otherwise on the record at the time the deposition
    testimony is taken, all deposition testimony taken in these Actions shall presumptively
    be treated as Designated Material until the 30th calendar day after the deposition tran-
    script is delivered to any Party or the witness (the “30-Day Period”). Within the 30-
    Day Period, a Party may designate any portion of such deposition transcript as Desig-
    nated Material by sending written notice to all other Parties identifying the specific
    portions of testimony that are so designated and the justification for such designations.
    After the expiration of the 30-Day Period, only designated portions of the deposition
    transcript will be protected by the terms of this Stipulated Protective Order.

 5. Inadvertent Disclosures; No Waiver of Privilege.

    a. The inadvertent disclosure of Discovery Material subject to a claim of attorney-
       client privilege, work product protection, Fifth Amendment privilege, or other ap-
       plicable privilege or protection (“Privileged Discovery Material”), is not a waiver
       of privilege or of protection from discovery in these Actions or in any other federal
       or state proceeding. For example, the mere disclosure of privileged or work product
       protected documents in these Actions as part of a production of multiple documents
       will be considered inadvertent and will not, by itself, constitute a waiver in this case
       or in any other federal or state proceeding. This Stipulated Protective Order should
       be interpreted to provide the maximum protection allowed by Federal Rule of Evi-
       dence 502(d) and any analogous state rule of evidence.

    b. A Party or non-party seeking protection for inadvertently disclosed Privileged Dis-
       covery Material is not required to show that reasonable steps were taken to avoid
       the inadvertent disclosure of such documents or information. Upon receiving writ-
       ten notice from a Producing Party that Privileged Discovery Material has been pro-
       duced (a “Clawback Notice”), the Party or Parties that have received privileged or
       protected documents (the “Receiving Party”) (1) must promptly return, sequester,
       or destroy the specified Privileged Discovery Material and any copies the Receiv-
       ing Party may have, including by deleting or otherwise permanently removing the
       Privileged Discovery Material from any document review databases, e-rooms, and
       other systems used by the Receiving Party to house documents; (2) must not use or
       disclose the Privileged Discovery Material until the Producing Party’s privilege
       claim is resolved; and (3) must take reasonable steps to retrieve and destroy the
       Privileged Discovery Material from any third parties to whom the Receiving Party
       disclosed such Privileged Discovery Material before receiving the Clawback No-
       tice.

    c. Within 14 days of serving a Clawback Notice, the Producing Party must provide
       the Receiving Party with a privilege log for the Privileged Discovery Material at

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       issue, from which the Receiving Party can determine whether or not to challenge
       the claim of privilege or other protection for those documents. Such a challenge by
       the Receiving Party, however, may not allege that privilege was waived for the
       challenged documents because they were produced as part of a mass production.

    d. The Receiving Party may make no further use of the Privileged Discovery Material
       during any aspect of this matter or any other matter, including in depositions or at
       trial, unless the Privileged Discovery Material is later designated by a court as not,
       or no longer, privileged or protected. The contents of the Privileged Discovery Ma-
       terial must not be disclosed to anyone who was not already aware of such contents
       before the Clawback Notice was served, except that, should the Receiving Party
       file a motion challenging the privilege designation of a document on grounds other
       than inadvertent production, the Producing Party may submit the challenged docu-
       ment under seal for the Court’s in camera review when it files its response to that
       motion. If the Receiving Party has any notes or other work product reflecting the
       contents of the privileged or protected documents, the Receiving Party may not
       review or use those materials, except to challenge the privilege designation of the
       material, unless a court later designates the privileged or protected documents as
       not, or no longer, privileged or protected.

 6. Filing of Designated Material.

    a. Except as provided in paragraph (b), this Protective Order does not, by itself, au-
       thorize the filing of any document under seal. Any documents to be filed under seal
       must be done in accordance with Local Civil Rule (“LCvR”) 5.1(h) or other appli-
       cable rule governing the sealing of documents. The Parties shall take reasonable
       efforts to avoid filing Designated Material on the public docket. When filing Des-
       ignated Material, a Party other than the Designating Party shall also file a motion
       pursuant to LCvR 5.1(h) requesting the provisional treatment of the Designated
       Material as sealed to give the Designating Party a reasonable opportunity to request
       the sealing of such Designated Material. The burden of justifying the sealing of any
       Designated Material rests with the Designating Party. The Designating Party’s fail-
       ure to file a motion to seal within 7 days of the initial filing of the Designated Ma-
       terial will result in the placement of such Designated Material on the public docket.
       Any opposition shall be filed within 7 days of the motion to seal. No reply shall be
       permitted without leave of Court.

    b. Filing of Trump AEO Material.

       i. Unless and until otherwise ordered by the Court, all Parties and any other party
          subject to this Protective Order shall file any and all Trump AEO Material under
          seal in these Actions. All Parties and any other party subject to this Protective
          Order shall also take reasonable steps to avoid publicly disclosing any Trump
          AEO Material, including by attempting in good faith to file them, if at all, under
          seal in any other proceedings.



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       ii. Any Party may move, for good cause shown, to unseal Trump AEO Material
           sealed pursuant to the preceding subsection. Unless otherwise ordered by the
           Court, the burden of justifying such unsealing rests with the moving Party. Any
           response to such motion shall be filed within 7 days. No reply shall be permitted
           without leave of Court.

 7. Challenges to Confidential Designations.

    a. A Party may challenge the propriety of any designation under this Stipulated Pro-
       tective Order at any time by serving the Designating Party with a captioned notice
       of objection (a “Notice of Objection”), which must identify with particularity the
       Discovery Material as to which the designation is challenged and state the basis for
       each challenge. Any Party also may seek removal of a designation as to any Dis-
       covery Material for good cause.

    b. Within 7 days following service of a Notice of Objection, or such other time as
       agreed to by the relevant Parties, the Party who served the Notice of Objection (the
       “Challenging Party”) and the Designating Party must confer in good faith, in person
       or by telephone, to attempt to resolve the challenge (the “Objection Conference”).

    c. In the event the Challenging Party and the Designating Party are unable to resolve
       the challenge informally, the Challenging Party may notify the Court within 7 days
       after the Objection Conference and request the Court’s intervention to resolve the
       impasse.

    d. The original designation remains effective until the Court has ruled on the motion
       and during the period while any timely-filed objections are under consideration by
       the Court, as provided in Fed. R. Civ. P. 72(a).

 8. Designated Material Subpoenaed or Ordered Produced in Other Proceedings.

    a. If a Receiving Party is served with a subpoena, discovery requests, or an order is-
       sued in another litigation or arbitration, or in a criminal or civil investigation or
       regulatory or administrative proceedings, which would compel disclosure of any
       material or document designated in these Actions as Designated Material, the Re-
       ceiving Party must, to the extent permitted by law, so notify the Designating Party
       and the Court, in writing and as soon as reasonably practicable.

    b. The Receiving Party must also inform in writing the person who caused the sub-
       poena, discovery request, or order to issue in the other proceedings that some or all
       of the requested materials are the subject of this Stipulated Protective Order. In
       addition, the Receiving Party must promptly deliver a copy of this Stipulated Pro-
       tective Order to the requesting person in the other proceedings.

    c. The purpose of imposing the duties described in this paragraph is to alert the inter-
       ested persons to the existence of this Stipulated Protective Order and to afford the
       Designating Party an opportunity to try to protect its Designated Material in the
       other proceedings or with the aid of this Court.

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    d. The obligations set forth in this paragraph remain in effect while any Party has in
       its possession, custody, or control Designated Material received from any Desig-
       nating Party or non-party in connection with these Actions.

    e. Nothing in this Paragraph 8 should be construed as authorizing or encouraging a
       Receiving Party in these Actions to disobey a lawful direction from another court
       or from a government agency.

 9. Modification of this Order. The Parties may seek modification of this Stipulated
    Protective Order at any time for good cause. The Parties agree to meet and confer be-
    fore seeking to modify this Stipulated Protective Order for any reason. The restrictions
    imposed by this Stipulated Protective Order may be modified or terminated only by
    order of this Court.

 10. Obligation Upon Termination of Litigation. This Stipulated Protective Order shall
     survive the termination of these Actions.

    a. Within 60 days after the settlement or final adjudication of the entirety of these
       Actions, including any appeals (“Termination”), all Designated Material, and all
       copies thereof, shall be returned to the relevant Designating Party (if the Designat-
       ing Party so requests within 30 days after Termination and pays the reasonable costs
       of such return) or shall be certified to the Designating Party as having been de-
       stroyed; provided, however, that Defendant Trump’s counsel in the criminal action
       United States v. Trump, 1:23-cr-00257 (TSC) (D.D.C.), may retain copies of Des-
       ignated Materials for use as permitted by this Order until the final determination of
       that proceeding, including any direct appeals, at which point, such Designated Ma-
       terials shall be returned or destroyed as provided for in this paragraph.

    b. Notwithstanding anything to the contrary in this Stipulated Protective Order, doc-
       uments need not be destroyed if there is a written agreement by the Designating
       Party to the contrary, including but not limited to the Designating Party’s agreement
       that the Designated Material may be used in another legal proceeding, though Des-
       ignated Material shall be destroyed or returned at the conclusion of all other per-
       mitted proceedings in the manner set forth in Paragraph 10(a).

    c. Notwithstanding anything to the contrary in this Stipulated Protective Order, coun-
       sel of record may retain a file of any litigation documents filed with the Court in
       these Actions and any attorney work product in the possession or control of counsel
       for any Party that reflects or includes information derived from documents or testi-
       mony designated as Designated Material.

 11. Seeking Additional Relief. Nothing herein prevents any Party from seeking additional
     relief from the Court not specified in this Stipulated Protective Order, including claims
     of privilege and other defenses to production or disclosure.

 12. Asserting Privacy Rights. Nothing herein prevents any non-party from asserting pri-
     vacy rights as to documents or information held by the Parties.


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 13. Jurisdiction. The Court shall retain jurisdiction to make such amendments, modifica-
     tions, and additions to this Stipulated Protective Order, as well as any other related
     orders, as it may from time to time deem appropriate.

 SO ORDERED.

 Entered on                    , 2024.           Amit          Digitally signed by
                                                               Amit Mehta

                                                 Mehta         Date: 2024.05.14
                                                               22:14:31 -04'00'
                                              _________________________________
                                                  The Honorable Amit P. Mehta
                                                 United States District Court Judge




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      Approved by the parties below as to form and substance:

/s/                                               /s/
Joseph M. Sellers, Bar No. 318410                 David A. Warrington
Brian Corman, Bar No. 1008635                     D.C. Bar No. 1616846
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                                     EXHIBIT A


                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

BARBARA J. LEE et al.,
                    Plaintiffs,
                                            Case No. 21-cv-00400 (APM)
             v.
                                            (lead case)
DONALD J. TRUMP et al.,
                    Defendants.

ERIC SWALWELL,
                    Plaintiff,
                                            Case No. 21-cv-00586 (APM)
             v.
                                            (consolidated case)
DONALD J. TRUMP et al.,
                    Defendants.

JAMES BLASSINGAME et. al.,
                    Plaintiffs,
                                            Case No. 21-cv-00858 (APM)
             v.
                                            (consolidated case)
DONALD J. TRUMP,
                    Defendant.

CONRAD SMITH et al.,
                    Plaintiffs,
                                             Case No. 21-cv-02265 (APM)
             v.
                                             (consolidated case)
DONALD J. TRUMP et al.,
                    Defendants.

MARCUS J. MOORE et al.,
                    Plaintiffs,
                                             Case No. 22-cv-00010 (APM)
             v.
                                             (consolidated case)
DONALD J. TRUMP,
                    Defendant.
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 BOBBY TABRON et al.,
                       Plaintiff,
                                                    Case No. 23-cv-00011 (APM)
                v.
                                                    (consolidated case)
 DONALD J. TRUMP,
                       Defendants.

 BRIANA KIRKLAND,
                       Plaintiff,
                                                    Case No. 22-cv-00034 (APM)
                v.
                                                    (consolidated case)
 DONALD J. TRUMP,
                       Defendant.

 SANDRA GARZA,
                       Plaintiff,
                                                    Case No. 23-cv-00038 (APM)
                v.
                                                    (consolidated case)
 DONALD J. TRUMP et al.,
                       Defendants.


       AGREEMENT TO BE BOUND BY STIPULATED PROTECTIVE ORDER

       My full name is __________________________________________. My address is

_____________________________________________________________________. I hereby

acknowledge that I am to have access to information designated in these Actions as CONFIDEN-

TIAL or ATTORNEYS’ EYES ONLY material, as permitted by the terms of the Parties’ Stipu-

lated Protective Order, in the above captioned action. I certify my understanding that such infor-

mation has been provided to me pursuant to the terms and restrictions of the Stipulated Protective

Order entered on ______________________, 2024, under paragraph 3 (Protection of Designated

Material) thereof, and that I have been given a copy of and have read said Stipulated Protective

Order and agree to be bound by the terms thereof. I further agree to subject myself to the
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jurisdiction of the United States District Court for the District of Columbia regarding resolution of

any matter pertaining to said Stipulated Protective Order.

       I declare under penalty of perjury under the laws of the United States of America and the

District of Columbia that the foregoing is true and correct.


Dated:_____________________


Signature:_________________________________


Print Name:________________________________
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                                CERTIFICATE OF SERVICE

       I certify that on May 14, 2024, I served a copy of the foregoing filing on all parties of

record by filing it with the Clerk of the Court through the CM/ECF system, which will provide

electronic notice to all attorneys of record, and by serving the pro se Defendants who have ap-

peared in these Actions via first class mail or other permitted means at the addresses below.

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 Dated: May 14, 2024                                                  /s/
                                                              David A. Warrington
